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Case 2:24-cv-00592-KKE Document 10 Filed 09/16/24 Page 1 of 2

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
JOHN PICKERING, CASE NO. C24-00592-KKE
Plaintiff(s),
v. ORDER TO SHOW CAUSE
AMAZON.COM INC et al.,
Defendant(s).

On June 24, 2024, the Court denied Plaintiff's motion for service of his pro se complaint
by the United States Marshals Service. Dkt. No. 7. Plaintiff then filed a motion for reconsideration
of that order, Dkt. No. 8, which the Court likewise denied. Dkt. No. 9. Since Plaintiff's request,
he has yet to file proof of service.

Under Federal Rule of Civil Procedure 4(m), “[i]f a defendant is not served within 90 days
after the complaint is filed, the court—on motion or on its own after notice to the plaintiff—must
dismiss the action without prejudice against that defendant or order that service be made within a
specified time.” FRCP 4(m). Plaintiff filed his complaint on June 11, 2024, but has not shown
proof of service within 90 days. Dkt. No. 6.

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Accordingly, Plaintiff is ORDERED to show cause by October 16, 2024, why this case

should not be dismissed for failure to serve.

Dated this 16th day of September, 2024.

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United States District Judge

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